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                         UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                        )
  ROOFERS’ PENSION FUND,                ) Civil Action No. 2:16-cv-02805-MCA-
  Individually and On Behalf of All     ) LDW
  Others Similarly Situated,            )
                                        ) ECF Case
                       Plaintiffs,      ) Document Electronically Filed
                                        )
           v.                           )
                                        )
  JOSEPH C. PAPA, et al.,               )
                                        )
                       Defendants.      )

             MEMORANDUM OF LAW IN OPPOSITION TO
        LEAD PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

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        Defendants Perrigo Company plc (“Perrigo” or the “Company”), Joseph

  Papa, and Judy Brown (collectively with Perrigo, the “Defendants”), respectfully

  submit this memorandum of law and accompanying exhibits in opposition to Lead

  Plaintiffs’ Motion for Class Certification.1 Dkt. 163 and 163-1.

                                  INTRODUCTION
        In seeking certification of three separate classes, Lead Plaintiffs ignore their

  burden to “affirmatively demonstrate” – for each proposed class – their compliance

  with Rule 23 by a preponderance of the evidence. Wal-Mart Stores, Inc. v. Dukes,

  564 U.S. 338, 350 (2011).

        First, Lead Plaintiffs fail to demonstrate by a preponderance of the evidence

  that the market for Perrigo shares on the Tel Aviv Stock Exchange (the “TASE”)

  was efficient. Rather than attempt to independently demonstrate the efficiency of

  the market for Perrigo shares on the TASE, Plaintiffs’ proffered expert,

  Dr. Zachary Nye, simply posits that the market for Perrigo shares on the TASE

  was efficient because the market for Perrigo shares on the New York Stock

  Exchange (the “NYSE”) was efficient.         As explained by Defendants’ expert,

  Dr. Paul A. Gompers, Dr. Nye’s “price parity” theory is deeply flawed, and Dr.


  1
        Lead Plaintiffs consist of the following three groups: Migdal Insurance
  Company Ltd., Migdal Makefet Pension and Provident Funds Ltd. (collectively,
  “Migdal”), Clal Insurance Company Ltd., Clal Pension and Provident Ltd., Atudot
  Pension Fund for Employees and Independent Workers Ltd. (collectively, “Canaf-
  Clal”), and Meitav DS Provident Funds and Pension Ltd (“Meitav”).

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  Nye’s review fails to show that the market for Perrigo shares on the TASE was

  efficient. Because TASE was not an efficient market for Perrigo stock, no “fraud-

  on-the-market” presumption of reliance applies to the proposed TASE Purchaser

  Class, and individualized issues of reliance will predominate.

        Second, even if Lead Plaintiffs were entitled to a “fraud-on-the-market”

  presumption of reliance for the proposed TASE Purchaser Class – they are not –

  Defendants have rebutted it by showing that each Lead Plaintiff continued to

  purchase Perrigo stock after the alleged “fraud” was publicly disclosed.

         Third, the proposed Tender Offer (14(e)) Class combines all shareholders

  alleging violations of Section 14(e) into a single class “whether or not” they

  tendered in response to Mylan’s tender offer, and thus improperly seeks to extend a

  presumption of reliance to the 40% of Perrigo shareholders that did not rely on the

  alleged misrepresentations in the first place. As a result, individualized issues of

  reliance will also predominate the proposed Tender Offer Class.

        Fourth, for the proposed Tender Offer Class, Lead Plaintiffs have not

  carried their burden of presenting a model that can determine damages on a class-

  wide basis consistent with their theories of liability. The correct measure of

  damages for Section 14(e) claims is “the difference between the economic position

  of   each   Class   Member     in   a   hypothetical   world     where   the   alleged

  misrepresentations had been known (i.e., the ‘but-for’ scenario) and their economic



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  position in the actual world.” But Lead Plaintiffs’ proposed damages calculations

  do not acknowledge, much less address, the “but-for” scenarios generated by

  Mylan’s combined cash and stock offer and its “subsequent offer period,” which

  permitted Perrigo shareholders who did not tender the option of electing to do so

  after the fact if certain conditions were met. Because Lead Plaintiffs have not

  provided a reliable model that calculates damages on a class-wide basis, the

  proposed Tender Offer Class cannot be certified.

        Fifth, Lead Plaintiffs fail to satisfy Rule 23(a)’s adequacy and typicality

  requirements for any of the proposed classes because the proposed class

  representatives have admitted to having a unique relationship with Mylan and to

  abdicating control over the litigation to class counsel.

        For all of the reasons herein, Lead Plaintiffs’ motion should be denied.

                                    BACKGROUND
        Defendants. Defendant Perrigo is the world’s largest manufacturer of over-

  the-counter healthcare products for the store brand market. 5/22/17 10-K at 3.

  Defendant Papa served as Perrigo’s President and Chief Executive Officer

  (“CEO”) until April 25, 2016; Defendant Brown served as Perrigo’s Chief

  Financial Officer (“CFO”) until February 27, 2017.

        Omega Acquisition. On November 6, 2014, Perrigo entered into an

  agreement to purchase European entity Omega Pharma Invest NV (“Omega”) in a



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  transaction that closed on March 30, 2015. 11/12/14 8-K, Ex. 99.1 at 1; 3/30/15

  8-K, Ex. 99.1 at 1.      Perrigo told investors about the risks associated with

  integrating Omega, which represented a major geographical and operational shift

  in its business.2 Perrigo also warned investors that it might not realize the benefits

  or synergies of the acquisition, which could have a material adverse effect on its

  operating results. 8/13/15 10-K at 23-24; 2/5/15 10-Q at 43,44; 4/29/15 10-Q at

  45-46; 2/25/16 10-KT at 24-25. During investor calls, Mr. Papa and Ms. Brown

  stressed that it might take up to four years for synergies from the Omega

  acquisition to emerge. 11/6/14 Conf. Call Tr. at 11-12; 2/5/15 Conf. Call Tr. at 10-

  11.    Over time, Omega’s financial performance did not meet Perrigo’s

  expectations, and Perrigo took impairment charges as a result.

        Mylan Tender Offer. On April 8, 2015 – nine days after the close of the

  Omega acquisition – Perrigo received an unsolicited, indicative proposal from

  Mylan N.V. (“Mylan”) to purchase Perrigo for a combination of cash and Mylan

  stock. 4/9/15 8-K at Item 8.01. Mylan valued its proposal at $205 per share of

  Perrigo common stock. 4/24/15 8-K, Ex. 99.1. On April 21, 2015, Perrigo’s

  Board of Directors (the “Board”) unanimously rejected Mylan’s proposal,

  concluding that Mylan had “significantly undervalue[d] the Company and its

  future growth prospects” and that the potential acquisition “was not in the best

  2
          Once acquired, Omega was initially known as the BCH unit of Perrigo, then,
  later, the CHCI unit.

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  interests of Perrigo’s shareholders.” 4/21/15 8-K, Ex. 99.1; 4/24/15 8-K, Ex. 99.1.

  At no time between Mylan’s announcement of its unsolicited proposal to acquire

  Perrigo and the Board’s rejection of this proposal did Mylan seek or obtain

  necessary Mylan shareholder approval for the proposed transaction.3

        On April 24, 2015, Mylan announced a “legally-binding commitment” to

  commence an offer to acquire all issued shares of Perrigo. Complaint ¶ 103;

  4/24/15 Mylan 8-K, Ex. 99.1 at 1. Mylan revised its offer, eventually settling on a

  mixture of $75 in cash and 2.3 Mylan ordinary shares per Perrigo share provided

  80% or greater of Perrigo shares were tendered. 4/29/15 8-K, Ex. 99.1 at 1.

  However, in April 2015 and for several months thereafter, Mylan did not schedule

  a vote of Mylan shareholders to approve any such tender offer. In late August

  2015, Mylan held a shareholder meeting and received approval for Mylan’s offer

  to Perrigo, which was modified to allow Mylan to proceed as long as 50% or more

  Perrigo shares were tendered. 8/20/15 Mylan Form 14A at 3-4; 9/14/15 Mylan

  Form 425 at 1. Mylan formally launched its tender offer on September 14, 2015.

  9/14/15 8-K, Ex. 99.2 at 1. Immediately before the tender day (November 13,

  2015), Mylan valued its combined cash and stock offer at approximately $179 per


  3
        The proposed transaction would be highly dilutive to Mylan’s shares and
  required approval by Mylan’s shareholders. See 5/5/15 Mylan Prelim. 14A at 5;
  7/28/15 Mylan 14A at 51 (explaining that if all Perrigo ordinary shares were
  acquired by Mylan pursuant to the tender offer, then former Perrigo shareholders
  would own approximately 39% of Mylan ordinary shares).

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  Perrigo share. 11/10/15 Form 425 at 1 (filed by Mylan). Throughout the period of

  Mylan’s initial offer and its later formal tender offer, Perrigo’s Board and

  management recommended that Perrigo shareholders reject Mylan’s proposal,

  based, in part, on the belief that Mylan’s shares were overpriced.4 On November

  13, 2015, less than 50% of the holders of Perrigo’s shares tendered, and the tender

  offer failed. 11/13/15 8-K, Ex. 99.1 at 1.

        DOJ Antitrust Investigation. On March 3, 2017, Bloomberg published an

  article that identified Perrigo as one of approximately a dozen pharmaceutical

  companies being investigated by the Department of Justice’s Antitrust Division

  (the “DOJ”) in connection with possible collusive pricing activities in generic

  prescription pharmaceuticals. See Anklam Exh. 31. On May 2, 2017, federal

  search warrants were executed at Perrigo facilities and other locations in

  connection with the DOJ investigation. 5/22/17 10-K at 44-45. To date, no civil

  or criminal charges have been brought by government agencies against Perrigo or

  any of its employees in connection with any antitrust investigations.




  4
         The Complaint asserts that Mylan’s initial offers in late April 2015 (which
  required tender of 80% or greater of Perrigo shares) gave Perrigo shareholders an
  opportunity to sell each Perrigo share for $227-$246, based on Mylan then-share
  prices of $74.50-$76.06. Complaint ¶¶ 103, 104. Five months later (in September
  2015), when Mylan formally launched its tender offer (seeking only greater than
  50% of Perrigo shares), Mylan’s shares had lost approximately one-third of their
  value, declining to less than $50 per share.

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        Securities Fraud Action Against Mylan.           In February 2017, the Court

  designated Lead Plaintiffs in this action, including Meitav. Previously, Meitav

  joined a group of Mylan investors that successfully sought appointment as lead

  plaintiff in a securities class action filed against Mylan in the United States District

  Court for the Southern District of New York. Anklam Exh. 33 at 1. Meitav and its

  co-plaintiffs filed an amended class action complaint against Mylan on March 20,

  2017 (three months before the Amended Complaint in this action was filed). See

  In re Mylan N.V. Sec. Litig., 2018 U.S. Dist. LEXIS 52084, *4 (S.D.N.Y. March

  28, 2018); Anklam Exh. 33 at 148. Their complaint alleges that Mylan made

  material misstatements to investors, including during the seven months in 2015

  when Mylan was seeking to acquire Perrigo. In re Mylan, 2018 U.S. Dist. LEXIS

  52084 at *5; Anklam Exh. 33 at 1-3. In the securities fraud action against Mylan,

  the lead plaintiff group is represented by Pomerantz LLP, the same firm appointed

  as co-lead counsel in this case. 2018 U.S. Dist. LEXIS 52084 at *1.

        Motion for Class Certification. Lead Plaintiffs alleged in the Amended

  Complaint that Defendants made material misstatements or omissions about “four

  key areas”: (i) the Omega integration; (ii) the Tysabri® royalty stream; (iii)

  Perrigo’s organic growth; and (iv) allegedly “collusive” pricing in connection with

  Perrigo’s generic drugs division. Complaint ¶ 1. On July 27, 2018, this Court

  dismissed all claims with respect to nine of the individual defendants and



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  dismissed the claims relating to the Tysabri® royalty stream and Perrigo’s organic

  growth with respect to Perrigo, Papa, and Brown. Roofer’s Pension Fund v.

  Perrigo Co., plc, 2018 WL 3601229 (D.N.J. 2018).

        On November 30, 2018, Lead Plaintiffs moved to certify three independent

  classes of shareholders, consisting of all persons who: (i) “purchased Perrigo’s

  publicly traded common stock [during the Class Period] on the New York Stock

  Exchange (‘NYSE’)” (the “U.S. Purchaser Class”), (ii) “purchased Perrigo’s

  publicly traded common stock during the Class Period on the Tel Aviv Stock

  Exchange (‘TASE’)” (the “TASE Purchaser Class”), and (iii) “owned Perrigo

  common stock as of November 12, 2015 and held such stock through expiration of

  Mylan’s tender offer” (the “Tender Offer Class”). ECF 163-1 at 2.

                                    ARGUMENT
        Lead Plaintiffs must prove by a preponderance of the evidence that each of

  the proposed classes meet the requirements of Rule 23(a):              numerosity,

  commonality, typicality, and adequacy. Fed. R. Civ. P. 23(a); Wal-Mart Stores,

  Inc. v. Dukes, 564 U.S. 338, 345-346 (2011). In addition, to satisfy Rule 23(b)(3),

  Lead Plaintiffs must prove, for each proposed class, that common issues

  predominate over individual issues and that a class action is superior to other

  methods for adjudicating the controversy. Fed. R. Civ. P. 23(b); City Select Auto

  Sales, Inc. v. BMW Bank of N. Am., Inc., 867 F.3d 434, 438-39 (3d Cir. 2017)



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  (citations omitted). Further, each proposed class must be “currently and readily

  ascertainable based on objective criteria.” City Select Auto Sales, Inc., 867 F.3d at

  439 (citations omitted).

        Class certification is proper only if the court “is satisfied, after a rigorous

  analysis, that the prerequisites of Rule 23 are met.” In re Hydrogen Peroxide

  Antitrust Litig., 552 F.3d 305, 309 (3d Cir. 2008). Rule 23’s requirements “are not

  mere pleading rules” and a class cannot be certified “unless each requirement of

  Rule 23 is actually met.” In re Schering Plough Corp. ERISA Litig., 589 F.3d 585,

  596 (3d Cir. 2009).        Accordingly, courts evaluating the propriety of class

  certification must “delve beyond the pleadings to determine whether the

  requirements for class certification are satisfied.” Id.

  I.    LEAD PLAINTIFFS FAIL TO ESTABLISH THAT COMMON
        ISSUES WILL PREDOMINATE.

        A.     Individualized Issues of Reliance Prevent Certification.

               1.     Lead Plaintiffs Have Failed to Demonstrate Entitlement to
                      the “Fraud on the Market” Presumption of Reliance.
        Lead Plaintiffs purport to rely on a class-wide presumption of reliance

  through the “fraud on the market” theory. Basic Inc. v. Levinson, 485 U.S. 224,

  241-42 (1988). Without the presumption, individual questions of reliance would

  predominate over common questions. In re Fed. Home Loan Mortg. Corp., 281

  F.R.D. 174, 177 (S.D.N.Y. 2012). For the fraud on the market theory to apply, the

  plaintiff must demonstrate that defendants have (1) publicly made (2) a material

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  misrepresentation (3) about a stock traded on an efficient market and (4) that the

  plaintiff purchased the shares between the time the misrepresentation was made

  and the time the truth was revealed. Id.

                     a.     Lead Plaintiffs Fail to Show that the TASE is an
                            Efficient Market for Perrigo shares.
        In assessing whether a market is “efficient,” the Third Circuit looks to the

  factors described in Cammer v. Bloom, 711 F. Supp. 1264, 1279-87 (D.N.J. 1989).

  These factors are: (1) the average weekly trading volume of the stock; (2) the

  number of securities analysts following and reporting on the stock; (3) the extent to

  which market makers and arbitrageurs trade on the stock; (4) the issuer’s eligibility

  to file an SEC registration Form S-3; and (5) the demonstration of a cause-and-

  effect relationship between unexpected, material disclosures, and changes in stock

  prices. Cammer, 711 F. Supp. at 1286-87.        “[T]he cause-and-effect relationship

  between a company’s material disclosures and the security price is normally the

  most important factor in an efficiency analysis.” See In re DVI, Inc. Sec. Litig.,

  639 F.3d 623, 634 (3d Cir. 2011) (internal quotation marks and citations omitted).

  Indeed, the cause and effect factor is “the foundation of the fraud on the market

  theory.” In re Fed. Home Loan Mortg. Corp., 281 F.R.D at 178.

        Lead Plaintiffs fail to demonstrate that the TASE is an efficient market with

  respect to trading in Perrigo shares. See generally Expert Report of Paul A.

  Gompers (“Gompers Report”) Gompers Report ¶¶ 9, 23-49. Dr. Nye does not


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  attempt to independently demonstrate the efficiency of the market for Perrigo

  shares on the TASE. Rather, he asserts that the market for Perrigo shares on the

  NYSE was efficient and this “directly evidences the informational efficiency of the

  Israeli market for Perrigo stock” because “price parity implies that the various

  trading centers for Perrigo stock in the U.S. and in Israel were equally efficient

  during the Class Period.” Nye Report ¶ 51. But as Defendants’ expert, Dr. Paul A.

  Gompers, explains, Dr. Nye’s analysis of this purported “price parity” is deeply

  flawed. See Gompers Report ¶¶ 25-27. Dr. Nye compares the price of Perrigo

  shares traded on the NYSE and on the TASE during the four hours per week when

  both markets are open.     Nye Report ¶ 51. But Dr. Nye fails to analyze TASE

  market pricing during the thirty six hours per week when TASE is open and U.S.

  markets are closed. Gompers Report ¶¶ 26-27. Even during the few hours when

  both markets were open at the same time, analysis of the intraday prices examined

  by Dr. Nye shows that “price parity” often failed to hold between markets.

  Gompers Report ¶¶ 48-49.

        Even if Dr. Nye’s flawed “price parity” analysis were sufficient to suggest

  that the TASE operated efficiently with respect to Perrigo stock during its limited

  overlap with U.S. markets (it is not), Dr. Nye’s analysis of the five Cammer factors

  does not support the contention that the TASE operated as an efficient market

  during the thirty-six hours per week when only the TASE was open. See generally



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  Gompers Report ¶¶ 28-43. As discussed in detail in the Gompers’ Report, Dr.

  Nye’s analysis of the first four Cammer factors fails to point to key data that

  undermines his conclusion that the TASE somehow satisfies them. See id. ¶¶ 28-

  35. First, Dr. Nye’s claim that Perrigo shares had a “large weekly trading volume”

  refers to both shares traded in U.S. markets and on the TASE. Id. ¶ 29. When

  examined separately (as appropriate when measuring whether the TASE is, by

  itself, an efficient market), Dr. Nye’s report reveals that only approximately 5% of

  the combined trading volume he cites was derived from the TASE and the average

  weekly turnover for Perrigo shares on the TASE was only 0.40%. Id. This

  percentage is well below the 1% to 2% threshold Dr. Nye cites to encourage this

  Court to presume market efficiency for both markets combined. Id. Second, the

  analyst coverage of and trading of Perrigo shares cited in support of Cammer factor

  2 occurred primarily in the United States, which provides little to no support for

  the contention that the TASE is an efficient market. Id. ¶ 31. Third, Dr. Nye

  provides no evidence to support his assertion that trading of Perrigo stock on the

  TASE was facilitated by market makers. Id. ¶ 32-33.

        With respect to the “cause and effect” relationship between the TASE and

  alleged corrective disclosures – the most important of the Cammer factors – Dr.

  Nye ignores evidence that the prices of Perrigo shares on the TASE did not

  immediately respond to these types of announcements. See id. ¶¶ 40-43. For



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  example, on April 25, 2017, Perrigo posted a press release with its preliminary first

  quarter results for 2017 after both markets had closed. Id. ¶ 40-41. Dr. Nye’s event

  study identifies a significantly significant positive return for shares traded on both

  the TASE and the NYSE following that announcement. Id. ¶ 40. However,

  Perrigo’s share price on the TASE only significantly increased in price after the

  U.S. markets had opened, illustrating that shares traded on the TASE did not

  independently incorporate Company-specific news. Id. ¶¶ 40-41.

        Dr. Nye also fails to acknowledge that his event study – which he admits

  was focused on shares traded on U.S. markets – produces inconsistent results when

  applied to Perrigo shares traded on the TASE. See id. ¶ 39-40 (noting that Dr.

  Nye’s event study identifies 32 days with statistically significant abnormal returns

  on U.S. markets, but only 17 days with statistically significant abnormal returns on

  the TASE). For example, Dr. Nye found a statistically significant Company-

  specific return on shares traded on the U.S. market on Tuesday, June 16, 2015, but

  did not find a corresponding return on Perrigo shares traded on the TASE on that

  day. Id. ¶ 39.

        Examination of announcements made on the 502 U.S. trading days included

  in the proposed Class Period, but ignored by Dr. Nye’s event study, further shows

  that prices of Perrigo shares on the TASE did not respond quickly to alleged

  corrective disclosures released outside U.S. market hours. See Gompers Report



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  ¶¶ 44-47. For example, on December 8, 2016, Lead Plaintiffs allege a corrective

  disclosure announcing Perrigo’s decision to restructure its BCH unit, which led to

  a 2.37% drop in Perrigo’s share price. Id. ¶ 45. The announcement was released at

  6:36 a.m. EST, which is during trading hours on the TASE (but before U.S. market

  open). Id. But Perrigo’s share price on the TASE initially increased on December

  8, 2016 and only began declining hours later, after the U.S. market had opened. Id.

  By ignoring fluctuation in Perrigo’s share price that occurred following “corrective

  disclosures” but before the U.S. market had opened, Dr. Nye ignores evidence that

  is inconsistent with his conclusion that the TASE is an efficient market entitled to

  the “fraud-on-the-market” presumption of reliance. Id. ¶ 47.

                      b.     Lead Plaintiffs Did Not Rely on Perrigo’s Statements
                             in Declining to Tender Their Shares.
        Even if this Court finds that Lead Plaintiffs have met the initial burden of

  proving that both markets for the stock at issue are efficient, Defendants can rebut

  the presumption by “sever[ing] the link between the alleged misrepresentation and

  either the price received (or paid) by the plaintiff, or his decision to trade at a fair

  market price,” Basic 485 U.S. at 248 (emphasis added) – in other words, by

  showing that investors “did not rely on the integrity of the market price in trading

  stock.” Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 276 (2014).

  Accordingly, where Defendants’ evidence shows that, for example, the alleged

  misrepresentations at issue did not affect Lead Plaintiffs’ decisions to reject


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  Mylan’s tender offer, the presumption does not apply and class certification is

  inappropriate.5 See In re Vivendi Universal, S.A. Sec. Litig., 123 F. Supp. 3d 424,

  431-32 (S.D.N.Y. 2016).

        That is precisely the case here. As internal investment memoranda for each

  plaintiff show, each Lead Plaintiff decided not to tender its shares based on its own

  assessments of Mylan’s lowball offer, Mylan’s defective corporate governance,

  and integration risks. See, e.g., Anklam Exh. 35 (Bar Tov) at 63:6-15 (“Canaf-Clal

  had a concern that Mylan’s corporate governance was inadequate or problematic”

  and that was “one of the reasons why [Canaf-Clal] didn’t … accept the tender

  offer”); Anklam Exh. 39 (Beer Even) at 55:2-7 (“at the time [Migdal] w[as]

  concerned about Mylan’s negative corporate governance” and “that [was]

  something [that] dissuaded” Migdal from tendering). This clear evidence that each

  of the Lead Plaintiffs relied on information other than the alleged

  misrepresentations by Perrigo6 in rejecting Mylan’s tender offer is precisely the

  type of rebuttal contemplated by the Supreme Court in Basic, leaving its

  presumption of reliance wholly unavailable.


  5
        In a tender offer situation, as in this case, the investor is faced with
  competing statements made by the tenderor (Mylan) and the tenderee (Perrigo).
  Disentangling which statements by which speaker led to each investor’s decision to
  tender or not is yet another individualized inquiry that Lead Plaintiffs make no
  attempt to address.
  6
        Lead Plaintiffs make no assertion that the perception of Mylan’s flawed
  corporate governance was false or misleading.

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               2.     The Affiliated Ute Presumption Does Not Apply to Cases
                      Involving a Mix of Misrepresentations and Omissions.
        As an alternative to the fraud-on-the-market theory for both the U.S.

  Purchaser Class and the TASE Purchaser Class, Lead Plaintiffs inappropriately

  seek refuge under the presumption of reliance for omissions established by the

  Supreme Court in Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972).

  There, the Court held that positive proof of reliance is not a prerequisite to

  recovery where the case involves “a failure to disclose.” Id. at 153. The Affiliated

  Ute presumption is rooted in the evidentiary complications of proving a

  counterfactual (i.e., proving how a shareholder would have behaved had omitted

  material information been disclosed). Id. at 153-154. But that issue only arises in

  the narrow category of cases in which a defendant opted to “stand mute” in the

  face of a duty to disclose, not cases alleging omissions “that would correct or

  mitigate” alleged misrepresentations. In re Salomon Analyst Metromedia Litig.,

  236 F.R.D. 208, 218-219 (S.D.N.Y. 2006). See Johnston v. HBO Film Mgmt. Inc.,

  265 F.3d 178, 192 (3d Cir. 2001) (“no presumption arises in cases of alleged

  misrepresentations”); Hull v. Global Dig. Sols., Inc., 2017 WL 6493148, *18

  (D.N.J.) (rejecting argument that the Affiliated Ute presumption applies where

  plaintiff failed to plead omissions).

        This is not a pure omissions case warranting the Affiliated Ute presumption

  of reliance. Lead Plaintiffs assert that their case is based on “misrepresentations


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  and omissions,” but they only point to affirmative statements made in Perrigo’s

  public filings that Lead Plaintiffs now assert were untrue when made.          Lead

  Plaintiffs “cannot transform the alleged misrepresentations into omissions simply

  by alleging that Defendants failed to disclose that the allegedly misleading fact was

  untrue.”   Hull, 2017 WL 6493148 at *18; see also In re Salomon Analyst

  Metromedia Litig., 236 F.R.D. at 219 (rejecting application of Affiliated Ute

  presumption of reliance where defendants allegedly omitted “information that

  would correct or mitigate [misrepresentations’] misleading nature”).

        B.     Individualized Issues Faced by Tendering Shareholders
               Predominate Over Issues Faced by Non-Tendering Members of
               the Tender Offer (14(e)) Class.
        The proposed Tender Offer Class impermissibly seeks to combine all

  shareholders alleging violations of Section 14(e) into a single class “whether or

  not” they tendered in response to Mylan’s tender offer. Complaint ¶ 273; Pl.

  Motion at 12.7 Even if this Court extended a presumption of reliance to the non-


  7
         The Supreme Court recently granted certiorari to interpret Section 14(e).
  Emulex Corp. v. Varjabedian, 2019 WL 98542, *1 (U.S. Jan. 4, 2019) (No. 18-
  459). In Emulex the Supreme Court has been asked to review, among other issues:
  (1) whether the Ninth Circuit erred in adopting a mere negligence standard, rather
  than requiring scienter as the standard for liability under Section 14(e); and (2)
  whether Section 14(e) provides for a private right of action. Emulex Corp. v.
  Varjabedian, 2019 WL 764208, *16-19 (Feb. 19, 2019) (No. 18-459) (Petitioners’
  Merits Br.; Summary of Argument). Oral argument was held on April 15, 2019,
  with a ruling expected by the end of June. If the Supreme Court decides that there
  is no private right of action under Section 14(e), that holding would obliterate the
  Tender Offer Class Section 14(e) claims in this case.

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  tendering shareholders (which it should not), that presumption should not be

  extended to the approximately 40% of Perrigo shareholders who rejected Perrigo’s

  recommendations and tendered their shares in response to Mylan’s offer.8 Absent

  a presumption of reliance, the Section 14(e) claims of the tendering shareholders

  would depend upon individual proof not susceptible to “evidence that is common

  to the class” as demanded by predominance. Reinig v. RBS Citizens, N.A., 912

  F.3d 115, 127 (3d Cir. 2018).

        Courts have distinguished between relying and non-relying shareholders,

  concluding that the latter group lacks standing to bring Section 14(e) claims. See

  Spivak v. Petro-Lewis Corp., 120 F.R.D. 693, 698 (D. Colo. 1987) (denying

  certification of class bringing Section 14(e) claims “[r]egardless of whether the

  plaintiffs might ultimately prevail on their claim of standing” because the issue

  would consume “considerable time and resources” thereby potentially “detract[ing]

  from the representation of the class claims”); see also Hundahl v. United Ben. Life

  Ins. Co., 465 F. Supp. 1349, 1353-54 (N.D. Tex. 1979) (“refus[ing] to extend

  standing under section 14(e) to persons who clearly did Not [sic] rely on alleged

  misstatements”). Here, the 40% of Perrigo shareholders who tendered showed

  their lack of reliance on Perrigo’s statements by accepting Mylan’s offer.


  8
        None of the Lead Plaintiffs tendered their shares, so Lead Plaintiffs are
  unable to represent the portion of their proposed Tender Offer Class who did
  tender.

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        Permitting both tendering and non-tendering shareholders to bring actions

  under Section 14(e) would overextend the Exchange Act’s protections. As the

  Supreme Court has emphasized, the securities laws are not intended “to provide

  investors with broad insurance against market losses, but to protect them against

  those economic losses that misrepresentations actually cause.” Dura Pharms., Inc.

  v. Broudo, 544 U.S. 336, 345 (2005).          “Allowing recovery in the face of

  affirmative evidence of nonreliance” – here, the decision to tender despite

  Perrigo’s recommendations to the contrary – would impermissibly convert the

  securities laws “into a scheme of investor’s insurance.” Id. (quoting Basic Inc. v.

  Levinson, 485 U.S. 224, 252 (1988) (White, J. concurring in part and dissenting in

  part)); see also Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 286

  (2014) (allowing “a plaintiff [to] recover whenever the defendant’s misstatement

  distorted the stock price—regardless of whether the misstatement had actually

  tricked the plaintiff into buying (or selling) the stock” would render the securities

  laws “reduced to a scheme of investor’s insurance”) (internal quotation marks and

  citations omitted).9   Issues concerning tendering shareholders’ demonstrated

  absence of reliance on any alleged Perrigo misstatement will predominate over

  common questions, dooming the certification of a class that includes them.

  9
         Earlier cases that Lead Plaintiffs may cite as support for a proposition that
  all shareholders can bring Section 14(e) claims regardless of reliance simply do not
  reflect the Supreme Court’s emphatic recent rulings insisting on reliance to avoid
  converting the Exchange Act into a scheme of investor insurance.

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         C.     Lead Plaintiffs Have Not Established that They Can Calculate
                Class-Wide Damages for their Proposed Classes.
         Lead Plaintiffs have failed to set forth a methodology demonstrating that

  damages can be determined on a class-wide basis consistent with their theory of

  liability.   See Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013) (requiring

  plaintiffs to present such a damages model to satisfy Rule 23(b)(3)’s predominance

  requirement). Plaintiffs cannot satisfy Rule 23 with an “assurance to the court that

  it intends or plans to meet the requirements.” In re Hydrogen Peroxide Antitrust

  Litig., 552 F.3d 305, 318 (3d Cir. 2008).       Indeed, “[e]very question of class

  certification will depend on the nature of the claims and evidence presented by the

  plaintiffs.” Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 374 (3d Cir. 2015).

         Here, Lead Plaintiffs’ proposed damages calculations for each of the three

  proposed classes are premised entirely on assumptions that are not rooted in Lead

  Plaintiffs’ theory of liability, which fail to satisfy the requirements of Rule 23 and

  Comcast.

                1.    Lead Plaintiffs Fail to Demonstrate That Damages for the
                      Tender Offer (14(e)) Class Can be Determined on a
                      Class-Wide Basis.
         Lead Plaintiffs complain that the alleged misrepresentations “prevented

  [them] from fairly assessing Mylan’s offer,” and that they were “deprived of the

  opportunity to exchange their Perrigo shares for superior compensation in cash and

  stock.” Complaint ¶ 300. For the Tender Offer Class, they seek as damages “the


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  difference between the price for which shares were tendered (or not tendered) and

  the ‘genuine’ value of those shares.” Nye Report ¶ 68. But this methodology is

  not based on any widely accepted methodology and fails to satisfy Comcast. See

  generally Gompers Report ¶¶ 50-73.

        First, Dr. Nye fails to account for how Mylan’s offer may have changed if

  Defendants had disclosed the purported truth to the market. See id. ¶¶ 57-61. As

  Dr. Gompers explains, from an economic perspective, the correct measure of

  damages for Lead Plaintiffs’ Section 14(e) claims is “the difference between the

  economic position of each Class Member in a hypothetical world where the alleged

  misrepresentations had been known (i.e., the ‘but-for’ scenario) and their economic

  position in the actual world.” Id. ¶ 51. But Dr. Nye baselessly assumes that in the

  but-for world in which Defendants disclosed the purported truth, Mylan would

  have made the same offer of $75 cash and 2.3 Mylan ordinary shares for each

  Perrigo share. Id. ¶¶ 57-58. This contradicts Lead Plaintiffs’ own allegations that

  during the class period “the market prices for Perrigo common stock had been

  artificially inflated by Defendants’ fraudulent course of conduct” (Complaint

  ¶ 288), and that Perrigo’s share price “plummeted” by “astonishing” amounts when

  the purported truth was revealed (Complaint ¶ 233). Because it is inconsistent with

  Lead Plaintiffs’ theory of liability, Dr. Nye’s methodology fails under Comcast.




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        Second, Dr. Nye’s methodology fails to address the complexities caused by

  Mylan’s combination cash and stock tender offer. Dr. Nye fails to address that the

  value of Mylan’s own shares – included as compensation for the tender offer –

  could vary depending on the outcome of the tender offer.10 See id. ¶¶ 62-68. As

  noted by Dr. Gompers, in a but-for scenario where Mylan’s tender offer was

  accepted by Perrigo shareholders, the price of “Mylan’s shares would have likely

  declined . . . [which] would have reduced the overall value of the Mylan shares

  conveyed to Class Members . . . .” Id. ¶ 64-66. Dr. Nye’s methodology fails to

  take this into account and instead overstates damages to proposed class members.

  Id.

        Third, the Mylan tender offer gave Perrigo shareholders the option to

  participate if more than 50% (but less than 80%) of them tendered shares. See

  Gompers Report ¶¶ 69-73. Perrigo shareholders would only be forced to sell their

  shares if more than 80% of Perrigo shareholders tendered to Mylan. The terms of

  the tender offer thus created various possible outcomes (in addition to outright

  rejection): (1) Perrigo shareholders tender 50%, but less than 80%, and Perrigo

  remains a standalone company with Mylan as its majority owner; and (2) more


  10
         The potential volatility of Mylan’s share price is underscored by the
  securities fraud litigation against Mylan, suggesting that Mylan’s own share price
  may have been artificially inflated throughout the period of its early proposed
  offers and its later formal tender offer for Perrigo. See Gompers Report ¶ 66, n.
  133.

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  than 80% of Perrigo shareholders tender, giving Mylan the ability to force Perrigo

  shareholders to tender through a short form merger and acquire total control of

  Perrigo.   Id. ¶¶ 70-71.   Those different scenarios create issues in calculating

  damages for the proposed Tender Offer class.

        Dr. Nye’s analysis fails to acknowledge these complexities. Instead, he

  begins with the speculative and unreasonable assumption that the Mylan tender

  offer would have been made and accepted by over 80% of Perrigo shareholders

  under exactly the same terms if the alleged misrepresentations had been publicly

  known.     Dr. Nye does not perform any analysis to support this assumption

  underlying his proposed methodology and fails to consider any other “but for”

  scenarios. For example, Dr. Nye ignores the possibility that more than 50%, but

  fewer than 80%, of Perrigo shares would be tendered, which Lead Plaintiffs

  explicitly conceded would have unpredictable effects on the value of Perrigo’s and

  Mylan’s shares.11 See Anklam Exh. 37 (Rabbanyan) at 119:7-19 (recognizing that

  if more than 50%, but less than 80%, of shares tendered, it would be “problematic”

  for Mylan to achieve “synergy”).

  11
         If Mylan’s tender offer succeeded, Perrigo’s former shareholders would own
  approximately 39% of Mylan’s shares. Thus, even if just over 50% of Perrigo’s
  shares were tendered in response to Mylan’s tender offer, those Perrigo former
  shareholders would own approximately 18% to 20% of Mylan’s shares. That
  would constrain all of those Perrigo shareholders from being able to immediately
  sell their newly acquired Mylan shares and monetize their compensation from the
  tender offer. Dr. Nye’s proposed methodology also fails to explain how to derive
  the value of Mylan’s shares in this scenario.

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        Calculating damages using Dr. Nye’s proposed model is impossible without

  engaging in individualized inquiries to determine whether a certain number of

  individual members of the broadly defined Tender Offer Class would have elected

  to participate in the Mylan tender offer.12 Damages calculations predicated on

  such individualized inquiries cannot satisfy the requirement for class-wide

  damages calculations under Rule 23(b)(3) and Comcast.

              2.     Lead Plaintiffs Fail to Show that Damages for the U.S.
                     Purchaser Class and the TASE Purchaser Class Can Be
                     Determined on a Class-Wide Basis.
        Lead Plaintiffs assert that members of the U.S. Purchaser Class and the

  TASE Purchaser Class (both asserting claims under Section 10(b) or its Israeli law

  equivalent) incurred damages because they “would not have purchased . . . at the

  prices they paid, or at all, had they been aware that the market prices for Perrigo

  common stock had been artificially inflated by Defendants’ fraudulent course of

  conduct.” Complaint ¶ 288. Based on this theory of liability, Lead Plaintiffs assert

  that class-wide damages incurred by these two classes can be calculated on a class-


  12
         Mylan’s offer also included a proviso that, if more than 50% of Perrigo
  shares were tendered, those Perrigo shareholders that had not tendered on
  November 13, 2015 would be able to tender during the fourteen days that followed
  at the same price offered. This creates further issues in calculating damages as it
  leaves open questions about the value of the Mylan shares that Perrigo
  shareholders would have received in a successful tender offer “but for” scenario
  and which, if any, of the non-tendering Perrigo shareholders would have tendered
  during that fourteen day subsequent offer period in the “but for” scenario where
  more than 50% but less than 80% of Perrigo shares were tendered.

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  wide basis by measuring the “price inflation” in the security caused by the alleged

  misrepresentations and omissions. Nye Report ¶¶ 62-63. Lead Plaintiffs assert

  that price inflation may be measured by “analyzing the change in a security’s price

  caused by a corrective disclosure,” but did not perform that analysis here. Id. ¶ 63.

        Lead Plaintiffs have not articulated any specific approach for managing

  damages arising from Section 10(b) for the U.S. Purchaser Class and TASE

  Purchaser Class. See Gompers Report ¶¶ 78-81. Instead, Dr. Nye claims that

  “price inflation” can be measured on a class-wide basis using an event study or

  other “tools” available to economists. Nye Report ¶ 63. Dr. Nye’s vague reference

  to his event study and other potential “tools” that could be used in measuring

  damages fails to offer necessary specifics on how those “tools” can be used to

  accurately measure damages here.        Gompers Report ¶ 78.        Indeed, Dr. Nye

  admitted that he has not engaged in a “rigorous or thorough analysis of . . . price

  inflation” and has not conducted any analysis to determine whether his proposed

  approach could be used to measure damages in this specific case. Id. ¶ 79-80; see

  also Anklam Exh. 44 (Nye) at 126:19-21. Dr. Nye has also failed to engage in any

  specific analysis of whether his method could be used to measure unique damages

  suffered by the TASE Purchaser Class, operating solely on the assumption that the

  calculations for the U.S. Purchaser Class and TASE Purchaser Class will be

  identical despite the significant differences between the markets at issue. Id. ¶ 81.



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        Lead Plaintiffs ignore their obligation to make clear how the classes will

  disaggregate the economic loss caused by a corrective disclosure from economic

  loss caused by other confounding factors, which include allegations that this Court

  has deemed inactionable. See Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S.

  336, 342-343 (2005) (“that lower price may reflect, not the earlier

  misrepresentation, but changed economic circumstances, changed investor

  expectations, new industry-specific or firm-specific facts, conditions, or other

  events, which taken separately or together account for some or all of that lower

  price”); Gompers Report ¶¶ 87-90. Dr. Nye acknowledges that “[a]n event study

  can be used to isolate Company-specific price movement caused by the revelation

  of true facts related to the alleged fraud from price movement caused by other

  factors.” Nye Report ¶ 63 (emphasis added). Yet, he fails to explain how a

  proposed event study would do so in this case. Gompers Report ¶¶ 87-90. Such a

  generic assertion that an event study could, in theory, be used to calculate damages

  in a securities class action does not satisfy Comcast and cannot be accepted here.

  See In re BP p.l.c. Securities Litig., 2013 WL 6388408, *17 (S.D. Tex. Dec. 6,

  2013) (“[w]ithout a more complete explication of how [p]laintiffs propose to use

  an event study to calculate class members’ damages, and how that event study will

  incorporate – and, if necessary, respond to – the various theories of liability, the

  Court cannot certify this litigation for class action treatment”).



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        Dr. Nye’s opinion regarding a class-wide damages model contains several

  other flaws, all of which evidence Lead Plaintiffs’ failure to satisfy Rule 23. First,

  Dr. Nye’s proposed damages model suffers from inconsistencies with Lead

  Plaintiffs’ theory of liability by failing to address how his model would account for

  portions of the Amended Complaint that have been (or are later) dismissed. See

  Gompers Report ¶ 91. This Court dismissed claims related to alleged quarterly

  misrepresentations regarding Perrigo’s organic growth. Dr. Nye’s event study

  makes no effort to describe how share price inflation or deflation that occurred on

  dates when Perrigo spoke about organic growth and also made allegedly false

  disclosures on other topics can be disaggregated.        Id. Moreover, the alleged

  corrective disclosures on April 25, 2016 and August 10, 2016 released information

  related to both the Omega integration and the generic Rx business. Id. If the Court

  ultimately determines that there is no liability associated with one of the remaining

  theories, Dr. Nye’s proposed methodology will not be able to measure inflation

  attributable only to the remaining alleged misrepresentations.

        Second, Dr. Nye’s proposed event study is predicated on the assumption that

  the information released on the alleged corrective disclosure dates was known and

  could have been disclosed earlier in the Class Period (as early as April 2015). See

  id. ¶¶ 82-83. That assumption is undermined by the information released. For

  instance, the alleged corrective disclosures on March 3, 2017 and May 2, 2017



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  concerned the federal government’s investigation of alleged collusive pricing with

  respect to generic prescription pharmaceuticals. See Complaint ¶¶ 242-243. There

  is no information to suggest that, in April 2015, that investigation had even

  commenced or that Perrigo was involved in any investigation at that time. An

  event study that assumes that these events could have been disclosed in April 2015

  (the beginning of the Class Period) is not reliable unless it can be shown that such

  information existed and could have been disclosed at that point. The same is true

  about information regarding Omega’s below expectations financial performance in

  late 2015 and 2016, which could not have been disclosed in April 2015 because the

  outcome of Omega’s business activities in late 2015 and 2016 could not be known

  in April 2015. See Gompers Report ¶ 82-83.

        Third, Dr. Nye’s proposed event study, for the purpose of arriving at

  damages for those classes asserting Section 10(b) claims, also fails to explain how

  it will account for changes in the price inflation of Perrigo shares while Mylan’s

  tender offer was pending. Gompers Report ¶¶ 84-86. During that time, Perrigo’s

  stock price would have reflected a probability-weighted average of the value of the

  expected tender offer consideration and Perrigo’s standalone value.              Id.

  Accordingly, Perrigo’s share price was likely influenced by the probability of the

  tender offer and, because it was a cash/stock offer, on Mylan’s share price. Id. It

  is unreasonable for Dr. Nye to assume that price inflation measured on corrective



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  disclosures alone could accurately estimate price inflation for purposes of Lead

  Plaintiffs’ Section 10(b) claims during the seven-month pendency of Mylan’s

  efforts to acquire Perrigo.13

  II.   LEAD PLAINTIFFS FAIL TO MEET THE REQUIREMENTS OF
        RULE 23(a).

        A.     Lead Plaintiffs Are Inadequate.
        To meet the adequacy requirement of Rule 23(a)(4), Lead Plaintiffs must

  prove that they will “fairly and adequately protect the interests of the class.” Beck

  v. Maximus, Inc., 457 F.3d 291, 296 (3d. Cir 2006). Conducting this inquiry seeks

  to “uncover conflicts of interest between named parties and the class they seek to

  represent” and “assures that the named plaintiffs’ claims are not antagonistic to the

  class and that the attorneys for the class representatives are experienced and

  qualified to prosecute the claims on behalf of the entire class.” Id.

               1.     Each Lead Plaintiff Increased Its Holdings in Perrigo
                      Common Stock after Learning of the Alleged Fraud.
        Courts have held that lead plaintiffs who have increased their holdings in the

  subject security after disclosure of the alleged fraud fail to meet Rule 23(a)(4)’s

  adequacy requirement. In re Safeguard Scientifics, 216 F.R.D. 577 (E.D. Pa.
  13
         Despite Dr. Nye’s failure to demonstrate that Lead Plaintiffs are entitled to a
  presumption of reliance or have met their Rule 23 obligation to present a class-
  wide damages calculation, any rebuttal report Lead Plaintiffs may submit cannot
  offer new opinions or information to correct these oversights. See Byrd v. Aaron’s
  Inc., 2017 WL 1093286, *4 (W.D. Pa. Mar. 22, 2017) (“[r]ebuttal cannot be used
  to correct a party’s oversights in its case-in-chief”) (quoting Crowley v. Chait, 322
  F. Supp. 2d 530, 551 (D.N.J. 2004)).

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  2003) (lead plaintiff was deemed inadequate where he had purchased additional

  shares after the alleged fraud was disclosed); Rocco v. Nam Tai Electronics, Inc.,

  245 F.R.D. 131, 134-136 (S.D.N.Y. 2007) (“a person that increases his holdings in

  a security after revelation of an alleged fraud involving that security is subject to a

  unique defense that precludes him from serving as a class representative”).

        Each Lead Plaintiff admitted that it purchased Perrigo stock long after “the

  truth [of Perrigo’s alleged fraud] was revealed.” Each Lead Plaintiff purchased

  Perrigo stock after (i) the May 2016 initial complaint was filed and the original

  plaintiff issued a press release announcing the securities fraud action; (ii) filing

  papers with this Court in July-August 2016 seeking appointment as lead plaintiff;14

  (iii) obtaining appointment as lead plaintiff in February 2017; and (iv) Bloomberg

  reporting that Perrigo “was in the sights of antitrust regulators” at the DOJ

  investigating generic drug price-fixing in early March 2017.15 This history of Lead

  Plaintiffs’ continued investment in Perrigo well after the securities fraud



  14
        See, e.g., Anklam Exh. 40 at 1 (Canaf-Clal purchases of Perrigo stock on
  November 1, 2016, December 19, 2016, December 20, 2016, and December 21,
  2016); 55 (Migdal purchases of Perrigo stock on June 13, 2016, June 15, 2016, and
  January 26, 2017); see also Anklam Exh. 41 at 5 (Meitav purchases of Perrigo
  stock on June 22, 2016, June 26, 2016, June 28, 2016, July 6, 2016, and July 24,
  2016).
  15
        See Anklam Exh. 40 at 5 (Canaf-Clal made multiple purchases of Perrigo
  stock on March 22, 2017); 56 (Migdal made multiple purchases of Perrigo stock on
  April 25, 2017); see also Anklam Exh. 41 at 6-8 (Meitav made multiple purchases
  of Perrigo stock on March 14, 2017).

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  allegations had become public in this case undermines their efforts to be Lead

  Plaintiffs.

                2.      Discovery in This Proceeding Strongly Suggests that Lead
                        Plaintiffs are Simply Mouthpieces for “Lawyer Driven”
                        Litigation Impermissible Under Rule 23(a) and the PSLRA.
         The adequacy requirement of Rule 23(a)(4) is not met where a plaintiff has

  simply lent its name to a class action controlled by its lawyers. See, e.g., In re

  Monster Worldwide, Inc. Sec. Litig., 251 F.R.D. 132, 134 (S.D.N.Y. 2008); In re

  Nice Sys. Sec. Litig., 188 F.R.D. 206, 219 (D.N.J. 1999) (adequacy is “contingent

  upon . . . a willingness on the part of the proposed lead plaintiff to vigorously

  prosecute the action”). Careful scrutiny for adequacy is especially appropriate in

  “complex class action securities cases governed by the PSLRA” in light of

  “Congress’s emphatic command that competent plaintiffs, rather than lawyers,

  direct such cases.” Berger v. Compaq Computer Corp., 257 F.3d 475, 484 (5th

  Cir. 2001). Indeed, the PSLRA was “intended to curtail the vice of ‘lawyer-

  driven’ litigation.” Iron Workers Local No. 25 Pension Fund v. Credit-Based

  Asset Servicing & Securitization, LLC, 616 F. Supp. 2d 461, 463 (S.D.N.Y. 2009);

  see also Winer Family Tr. v. Queen, 503 F.3d 319, 326 (3d Cir. 2007) (“The twin

  goals of the PSLRA are to curb frivolous, lawyer-driven litigation, while

  preserving the investors’ ability to recover on meritorious claims.”) (internal

  citations omitted).



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        The Third Circuit has explicitly cautioned that the adequacy requirement

  may prove insurmountable where counsel cobbles together a group of investors for

  the purpose of obtaining lead plaintiff status.

        If, for example, a court were to determine that the movant “group”
        with the largest losses had been created by the efforts of lawyers
        hoping to ensure their eventual appointment as lead counsel, it could
        well conclude, based on this history, that the members of that “group”
        could not be counted on to monitor counsel in a sufficient manner.

  In re Cendant Corp. Litig., 264 F.3d 201, 267 (3d Cir. 2001).

        Testimony from each of Lead Plaintiffs reveal that the instant lawsuit fits the

  pattern of “lawyer-driven litigation” that cannot withstand Rule 23(a)(4) scrutiny.

  First, none of the representatives presented evidence to suggest that other counsel

  was considered before filing suit. See In re Lucent Techs. Sec. Litig., 194 F.R.D.

  137, 156 (D.N.J. 2000) (finding it “troubling” that there was “no indication of

  whether other counsel were interviewed or even considered”); Anklam Exh. 34

  (Drucker) at 56:11-14. Further, none of Lead Plaintiffs had any prior relationship

  with the Lowenstein Sandler firm, nor did they play any role in selecting local

  counsel. Anklam Exh. 36 (Cohen-David) at 54:2-13; Anklam Exh. 38 (Maderer) at

  35:19-21.

        Second, testimony from each of the Lead Plaintiffs reveals how little they

  have participated in the instant litigation. Lead Plaintiffs admitted that they had no

  knowledge about the unidentified fact witnesses cited in the Amended Complaint



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  to support their allegations and played no role in selecting any of the experts relied

  upon thus far. See Anklam Exh. 36 (Cohen-David) at 51:3-11; Anklam Exh. 38

  (Maderer) at 70:13-17, 71:14-21; Anklam Exh. 34 (Drucker) at 60:23–61:9.

  Meitav did not even know how their expert had been identified. Anklam Exh. 36

  (Cohen-David) at 82:4-6. Representatives had no knowledge that lead counsel had

  subpoenaed at least nine non-parties in this action thus far and showed minimal

  awareness of discovery disputes that have been ongoing for the past four months.

  Anklam Exh. 34 (Drucker) at 82:19–83:7; Anklam Exh. 36 (Cohen-David) at

  80:10-14; Anklam Exh. 38 (Maderer) at 86:13-18. Indeed, Canaf-Clal struggled to

  demonstrate more than a general “aware[ness] there are disputes” and even then

  admitted that it was “not sure that [it was] fully familiar.” Anklam Exh. 34

  (Drucker) at 83:11-14.

        Moreover, testimony revealed that lead counsel has exercised unfettered

  discretion over the cost of this litigation and has rarely, if ever, provided invoices

  detailing the time spent or the expenses incurred to the Lead Plaintiffs who

  purportedly control this lawsuit.    Anklam Exh. 36 (Cohen-David) at 59:6-14.

  When asked, Lead Plaintiffs could not answer how much the lawsuit had cost to

  date. Anklam Exh. 36 (Cohen-David) at 59:3-5. Lead Plaintiffs also had no

  awareness of whether its counsel planned to (or had already) engaged contract

  attorneys to assist in document review, let alone the rates at which such contract



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  attorneys would be engaged. Anklam Exh. 34 (Drucker) at 68:4-20. Courts have

  recently highlighted the serious issues that lead plaintiffs’ lack of awareness of

  such expenses can cause. In re Weatherford Intern. Sec. Litig., 2015 WL 127847,

  *1 (S.D.N.Y. Jan. 5, 2015) (criticizing plaintiff’s counsel seeking to charge the

  class hourly rates for staff attorneys that significantly exceed the direct cost to the

  law firm). Lead Plaintiffs’ admitted ignorance of these problematic practices and

  the need to protect the class from excessive legal expense further underscores their

  inadequacy to serve as class representatives here.

        Lead Plaintiffs’ passive participation in this litigation hardly comports with

  either the PSLRA’s demand that “class representatives [be] informed, able

  individuals who are themselves—and not the lawyers—actually directing the

  litigation” or with the adequacy requirements of Rule 23(a)(4). In re Kosmas

  Energy Ltd. Sec. Litig., 299 F.R.D. 133, 141 (N.D. Tex. 2014); see also Griffin v.

  GK Intelligent Sys., 196 F.R.D. 298, 302 (S.D. Tex. 2000) (finding that plaintiff

  failed to meet requirements of Rule 23(a)(4) where proposed class representatives

  took “little or no supervisory role over lead counsel,” did not “participate in

  litigation decisions,” and did not “receive regular cost/expense information”).

        B.     Lead Plaintiffs’ Claims Are Not Typical of the Proposed Classes.
        Rule 23(a)(3) demands that “the claims or defenses of the representative

  parties” be “typical of the claims or defenses of the class.” In evaluating typicality



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  under Rule 23(a)(3), courts must evaluate three distinct, though related, concerns:

  (1) whether the claims of the class representative are the same as those of the class

  with respect to (a) the legal theory advanced and (b) the factual circumstances

  underlying that theory; (2) whether the class representative is subject to a defense

  that is inapplicable to many members of the class and likely to become a major

  focus of the litigation; and (3) whether the interests and incentives of the

  representatives are sufficiently aligned with the class. See In re Schering Plough

  Corp. ERISA Litig., 589 F.3d 585, 599 (3d Cir. 2009).

        A proposed class representative subject to a unique defense is atypical

  because such representatives “might devote time and effort to the [unique] defense

  at the expense of issues that are common and controlling for the class.” Id. A

  court need not adjudicate the unique defense to reject a proposed class

  representative based on failure to satisfy Rule 23(a)(3); rather, “[t]he presence of

  even an arguable defense peculiar to the named plaintiff or a small subset of the

  plaintiff class may destroy the required typicality.” Id. (internal citations omitted).

               1.     Lead Plaintiffs Admitted to Having a Unique Relationship
                      with Mylan.
        Each of Lead Plaintiffs is atypical of the remaining proposed class members

  because each potentially relied on information other than the misrepresentations

  alleged in the Amended Complaint in deciding to not tender in response to Mylan’s

  offer. See Carr v. Int’l Game Tech., 2012 WL 909437, *5 (D. Nev. Mar. 16, 2012)


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  (finding a plaintiff’s claims “are not typical” where the plaintiff “testified that they

  did not rely on the alleged misrepresentations referred to in the amended complaint

  . . . in making the decision to invest”); Shiring v. Tier Techs., Inc., 244 F.R.D. 307,

  313 (E.D. Va. 2007) (“a plaintiff cannot prevail under §10(b) of the Securities

  Exchange Act and Rule 10b-5 without proof that the plaintiff justifiably relied on

  defendants’ false statements”) (internal citations omitted). Importantly, whether

  plaintiffs actually relied on this information “is of no matter” as “[t]he fact that

  plaintiffs will be subject to such defenses renders their claims atypical of other

  class members” in violation of Rule 23(a)(3). In re Peregrine Sys. Sec. Litig., 2002

  WL 32769239, at *7 (S.D. Cal. Oct. 9, 2002).

        Each of Lead Plaintiffs admitted to attending meetings with high-level

  Mylan executives while the tender offer was pending. Each of the Lead Plaintiffs

  testified to closed-door meetings with Mylan’s CEO, Robert Coury. Anklam Exh.

  35 (Bar Tov) at 112:13-23 (describing Coury’s “one-on-one with Canaf-Clal” in

  September or October 2015); Anklam Exh. 37 (Rabbanyan) at 73:3-11 (same);

  Anklam Exh. 39 (Beer Even) at 53:4-17 (same). Similar closed-door meetings

  occurred between Lead Plaintiffs and Mylan’s CFO.                  Anklam Exh. 37

  (Rabbanyan) at 76:17–77:11 (describing meeting between Meitav and Mylan’s

  CFO at Meitav’s offices); Anklam Exh. 39 (Beer Even) at 53:4-17 (same). In

  addition, one of the Lead Plaintiffs attended yet another closed-door meeting with



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  Mylan’s CFO designed for him to “make his company’s case for buying Perrigo.”

  Anklam Exh. 42 at 2. These private meetings between Lead Plaintiffs and Mylan

  executives raise serious questions about whether Lead Plaintiffs relied on

  information unavailable to other members of the proposed classes when Lead

  Plaintiffs evaluated whether to accept Mylan’s tender offer to acquire Perrigo.

        Moreover, as discussed above, one of Lead Plaintiffs (Meitav) is a lead

  plaintiff in a securities fraud action brought against Mylan, which alleges that

  Mylan made misrepresentations to its shareholders during the seven-month period

  in which Mylan attempted to acquire Perrigo using Mylan’s shares as part of its

  consideration.   Thus, Meitav is now asserting inconsistent and irreconcilable

  positions:   that Perrigo’s shareholders would have been better off accepting

  Mylan’s shares as part of its tender offer for Perrigo in 2015 and that the price of

  Mylan’s shares during 2015 was inflated due to Mylan’s own fraud. In re Mylan

  N.V. Sec. Litig., 2018 U.S. Dist. LEXIS 52084 at *5; Anklam Exh. 33 at 7-9. This

  problem is exacerbated by the fact that counsel for Lead Plaintiffs here (Pomerantz

  LLP) is also representing Meitav in its attacks against Mylan in that securities

  fraud action. In re Mylan N.V. Sec. Litig., 2018 U.S. Dist. LEXIS 52084 at *1.

        Lead Plaintiffs’ potential reliance on non-public information learned during

  these private meetings with Mylan, along with Meitav’s prominent role in an

  conflicting, ongoing securities fraud litigation against Mylan, subjects them to



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  unique defenses that will become a major focus of litigation. Lead Plaintiffs are

  thus atypical of the class in violation of Rule 23(a)(3) and certification must fail.

  III.   LEAD PLAINTIFFS HAVE FAILED TO DEMONSTRATE THAT
         THE PROPOSED COMMENCEMENT DATE FOR THE CLASS
         PERIOD IS APPROPRIATE.
         Lead Plaintiffs proposed class period runs from April 21, 2015 (the date

  Perrigo’s Board rejected Mylan’s unsolicited offer) through May 3, 2017 (the date

  Perrigo announced that its offices had been raided by the Department of Justice),

  inclusive of both stated dates. Complaint ¶ 273. Lead Plaintiffs’ proposal ignores,

  however, that regardless of how Mylan’s management may have characterized the

  nature of their several proposals to acquire Perrigo in April 2015, Mylan could not

  proceed with any offer that depended upon any significant number of Mylan shares

  being provided as part of the compensation without approval from Mylan’s

  shareholders. See, e.g., 5/5/15 Mylan Preliminary 14A at 5 (“the affirmative vote

  of a majority of the valid votes cast at the extraordinary general meeting and a

  quorum of at least one third of the issued shares is required for the approval of” the

  tender offer); 8/28/15 Mylan Form 425 (announcing shareholders had approved

  Mylan’s proposed acquisition of Perrigo Company plc). Any purported class

  period should therefore not commence until September 14, 2015, a date after

  Mylan had received approval from its own shareholders and when Mylan formally

  launched its tender offer to acquire Perrigo.



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  IV.   CONCLUSION
        In this case, these Lead Plaintiffs have failed to meet the test for certification

  of each of the separate classes they ask this Court to certify. In addition, they fail

  to demonstrate that they meet the adequacy and typicality requirements of Rule

  23(a). Accordingly, this Court should deny certification.




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  Dated: April 17, 2019              Respectfully submitted,


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